






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00507-CV






In the Interest of Z. M., C. M. and A. G.






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-FM-06-003144, HONORABLE LORA J. LIVINGSTON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N


		

		Appellant Thomas Maldonado's brief on appeal was originally due March 17, 2008.
On July 18, 2008, this Court ordered appellant's counsel to file a brief on appellant's behalf no later
than August 18.  In response, counsel filed a motion stating that despite repeated attempts, he has
been unable to reach Maldonado since July 17, 2007.  Counsel further represents that due to this lack
of communication, he has been unable to obtain Maldonado's authorization to proceed with this
appeal.  To date, no appellant's brief or motion for extension of time has been filed.  Accordingly,
we dismiss this appeal for want of prosecution.

		

__________________________________________

						Diane M. Henson, Justice

Before Justices Patterson, Waldrop and Henson

Dismissed for Want of Prosecution

Filed:   October 17, 2008


